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UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 

JEROME E. SANDERS, :
1439 Brookside Avenue : CIVIL ACTION NO,
Linwood, PA 19061 :
Plaintiff,

vs.
EXPLORER VAN COMPANY, -
2749 N. Fox Farm Road
Warsaw, IN 46580

Defendants.

NOTICE OF REMOVAL OF ACTION

TO THE JUDGES OF THE UNITED STATES DISTRICT COURT FOR THE EASTERN
DISTRICT OF PENNSYLVANIA:

In accordance with 28 U.S.C. §§ 1441 and 1446, Defendant, Explorer Van Company
hereby files this Notice of Removal to remove this case, which was filed in the Court of
Common Pleas of Philadelphia County, to this Court. In support of this Notice of Removal,

Explorer Van Company avers as follows:

Statement of Jurisdiction
1. This is a civil action which may be removed to this Court by Defendants pursuant

to the provisions of 28 U.S.C. §§ 1441(a) and 1441(c)

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2, On or about April 24, 2019, Defendants was served with a civil Complaint by
certified mail captioned Jerome E. Sanders v, Explorer Van Company (Docket No. 002180) and
filed by Plaintiff in the Court of Common Pleas, Philadelphia County, Pennsylvania. Plaintiffs
Complaint is attached as Exhibit A.

3. In accordance with 28 U.S.C. § 1446(a), true and correct copies of all process,
pleadings, and orders served upon Explorer Van Company in this action are attached as Exhibit
“A”,

4, In accordance with 28 U.S.C. § 1446(b), this Notice of Removal is filed within
thirty days after service of the Complaint on Defendant.

5, The Philadelphia Court of Common Pleas, First Judicial District’s website was
down on May 23, 2019 and I was unable to obtain a docket report.

6. However, based on the caption of the Complaint, and the allegations in the
complaint Defendant understands that it is the only party to the action,

7. In accordance with 28 U.S.C. § 1446(d), Defendant is serving Plaintiff and filing
with the Philadelphia Court of Common Pleas Notices of Removal of the action, a copy of which
is attached as Exhibit “B”.

Federal Question Jurisdiction

&, In Count II of Plaintiff's Complaint, Exhibit A, Plaintiff brings a claim under the
Magnuson-Moss Warranty Improvement Act and alleges damages equal to the sales price of the
vehicle which was approximately $66,000, (See Exhibit A to Plaintiff's Complaint attached as
Exhibit A)

9, Asa result, the within matter is removable pursuant to 28 U.S.C. $1331 as it

involves a Federal question and pursuant to 15 U.S.C, §2310(d).

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20. Based on the foregoing, the requirements of 28 U.S.C. §§ 1441 (a) and (c) and 28
U.S.C, §2310(d) have been satisfied and the within matter is properly removable on the basis of
Federal Question.

WHEREFORE, Defendant, Explorer Van Company respectfully request that the state
action be removed from the Court of Common Pleas, Philadelphia County, Pennsylvania to the

United States District Court for the Eastern District of Pennsylvania.

      
   

Respectfully Subyuitted,

a7
LAURAD-RUCCOLO (70736)
PEHART & SCATCHARD, PA
Attorneys for Defendant, Explorer Van Company

8000 Midlantic Dr., Suite 300 8
Mt. Laurel, New Jersey 08054
856-234-6800

 
 

 

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FILADELFIA, PA 19107
TELEFONO} 215-238-1704

Robert M. Silverman, Esquire ATTORNEY FOR PLAINTIFF ‘
Identification-No.55914 Se ae
KIMMEL & SILVERMAN, P.C.

 

 

 

———~30 East Biler Pike
Ambler, PA 19002
(215) 540-8888

 

Jerome E. Sanders COURT OF COMMON PLEAS
1439 Brookside Avenue PHILADELPHIA COUNTY
Linwood, PA 19061

¥
CIVIL ACTION
Explorer Van Company
2749 N, Fox Farm Road
Warsaw, IN 46580

 

COMPLAINT
CODE: 1900

1, Plaintiff, Jerome E. Sanders, is an adult individual citizen and legal resident of the
Commonwealth of Pennsylvania, residing at 1439 Brookside Avenue, Linwood, PA 19061,

2, Defendant, Explorer Van Company, is a corporation qualified to do and regularly conduct
business in the Commonwealth of Pennsylvania, with its address and principal place of business
located at 2749 N, Fox Farm Road, Warsaw, IN 46580, and can be served at this address.

3, Defendant regularly conducts business in Philadelphia County, Pennsylvania,

 

 

 
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BACKGROUND
4, On of about 06/14/18, Plaintiff purchased a new 2018 Chevrolet G2500 Explorer Luxury

Conversion Van, manufactured and warranted by both General Motors Company and Defendant,

 

and bearing the Vehicle Identification Number IGCWGBFG4J1 168340.

 

5, The vehicle is used for personal purposes.

6. The vehicle was purchased in the Commonwealth of Pennsylvania and is registered in the
Commonwealth of Pennsylvania.

7, The contract price of the vehicle, including registration charges, document fees, sales tax,
finance and bank charges, but excluding other collateral charges not specified, yet defined by the
Lemon Law, totaled more than $66,372.00. A true and correct copy of the purchase documentst
is attached hereto, made a part hereof, and matked Exhibit "A",

8, In consideration for the purchase of said vehicle, Defendant issued to Plaintiff several
wattanties, guarantees, affirmations or undertakings with respect to the material or workmanship
of the vehicle and/or remedial action in the event the vehicle fails to meet the promised
specifications.

9, The above-referenced warranties, guatantees, affirmations or undertakings are/were patt
of the basis of the bargain between Defendant and Plaintiff.

10, However, as a result of the ineffective repait attempts made by Defendant, the vehicle is
rendered substantially impaired, unable to be utilized for its intended purposes, and is worthless
to Plaintiff.

11, The first and second documented warranty repair attempts are believed to have occurred
on or about 7/23/18 through 8/23/18, when the vehicle odometer showed 411 miles. On 7/23/18,

the vehicle was towed to Fred Beans Chevrolet, Plaintiff reported air and water are massively

 

 

 

 

 
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leaking into vehicle, staining the interior and pooling on the floor, the front gtilie popped out and
the headlights are flooded with water. Fred Beans found a “heavy” water leak and sent the

vehicle back to Defendant for repairs. The vehicle was returned to Plaintiff on 8/23/18. A true

 

and correct copy of the repair invoice is attached hereto, made a part hereof and marked Exhibit

 

“BN,

12. The third documented warranty repair attempt is believed to have occurred on or before
11/15/18 through 11/26/18, when the vehicle odometer showed 1,415 miles. On that date, repair
attempts addressed all four tires losing air and vehicle pulling to the right, The servicing dealer,
Thomas Chevrolet, found the connection between all four wheels and tires faulty and called
Defendant, who provided four new tires. A true and correct oapy of the repair invoice is attached
hereto, made a patt hereof and marked Exhibit "C",

13. The foutth documented warranty repair attempt is believed to have occurred on or before
11/29/18, when the vehicle odometer showed 1,448 miles. On that date, repair attempts
addressed the vehicle pulling to the right and continuing to leak both water and al. A true and
correct copy of the repair invoice is attached hereto, made a part hereof and marked Exhibit "D".

14. The vehicle continues to leak both water and alr to date, yet Defendant has refused to
attempt to repair the vehicle.

15, Thoughout the repair history, Plaintiff repeatedly contacted Defendant, informing
Defendant that the subject vehicle continues to massivley leak air and water and requesting that
Defendant honor its warranty by repairing the vehicle. Defendant wholly failed to respond to
Plaintiffs complaints and has, prior to any legal action being instituted, made no efforts to
address Plaintiffs concern, Defendant has also wholly failed to reply to Plaintiff's requests for

repair documentation.

 

 

 
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16. The vehicle continues to exhibit defects and nonconformities which substantially impait

its use, value and/or safety as provided in 73 P.S, §1951 ot seq.

17. Plaintiff hereby incorporates all facts and allegations set forth in this Complaint by
reference as if fully set forth at length herein.

18, Plaintiff is a "Purchaser" as defined by 73 P.S, §1952,

19, Defendant is a "Manufacturer" as defined by 73 P.S. §1952.

20. Fred Beans Chevrolet is and/or was at the time of sale a Motor Vehicle Dealer in the
business of buying, selling, and/or exchanging vehicles as defined by 73 P.S. §1952.

21. On or about 06/11/2018, Plaintiff took possession of the above mentioned vehicle and
experienced nonconformities as defined by 73 P.S $1951 et seq., which substantially impair the
use, value and/or safety of the vehicle,

22. The nonconformities described herein violate the express written warranties issued to

Plaintiff by Defendant.
23, Section 1955 of the Pennsylvania Automobile Lemon Law provides:

Ifa manufacturer falls to repair or correct a nonconformity after a reasonable number of attempls, the
manufacturer shall, at the option of the purchaser, replace the motor vehicle... or accept return of the
yehicle from the purchaser, and refund to the purchaser the full purchase price, including all collateral
charges, less a reasonable allowance for the purchasers use of the vehicle, not exceeding $.10 per mile
driven or 10% of the purchase price of the vehicle, whichever fs less,

24, Section 1956 of the Pennsylvania Automobile Lemon Law provides a presumption of a

reasonable number of repair attempts if:

a The same nonconformity has been subjeot to repalr three times by the manufacturer, its agents or
authorized dealers and the nonconformity still exists; or

(2) The vehicle ts out-of-service by reason of any nonconformity for a cumulative total of thirty or
more calendar days,

 

 

 

 

 
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25, Plaintiff has or will have satisfied the above definition as the vehicle has been subject to
repair three (3) times for the same nonconformity, and the nonconformity remains uncorrected,

26, In_addition, the above vehicle has_been_out-of-service by reason_of the noneanfoumities

 

——__—_——-eomplained of for a-cumulativetotal of thirty 20) or more calendar days;

27, Plaintiff hag delivered the nonconforming vehicle to an authorized service and repair
facility of the Defendant as outlined above.

28, After a reasonable number of attempts, Defendant was unable, failed, or. has refused to
repair the nonconformities.

29, Plaintiff notified Defendant of the existence of the nonconformities and has requested
that Defendant repair said nonconformities,

30, Plaintiff avers the vehicle has been subject to additional repair attempts for defects and
conditions for which Defendant did not provide or maintain itemized statements as required by
73 PS. § 1957, |

31, Plaintiff avers that such itemized statements, which were not provided as required by 73
PS, § 1957 also include technicians! notes of diagnostic procedures and repaits, and Defendant's
Technical Service Bulletins relating to this vehicle.

32, Plaintiff avers the vehicle has been subject to additional repair attempts for defects and
conditions for which Defendant's warranty dealer did not provide the notlfication required by 73
P.S. § 1957,

33, Plaintiff has and will continue to suffer damages due to Defendant's failure to comply
with the provisions of 73 P.S. §§ 1954 (repalr obligations), 1955 (manufacturer's duty for refund

or replacement), and 1957 (itemized statements required).

 

 
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34, Pursuant to 73 PS. § 1958, Plaintiff seeks relief for losses due to the vehicle's
nonconformities, including the award of reasonable attorneys' fees and all court costs.
WHEREFORE, Plaintiff respectfully demands judgment against Defendant in an amount

equal to the price of the subject vehicle, plus all collateral charges, attorneys’ fees, and court

 

costs,

COUNT It
AGNUSON-MOSS (FTC) WARRANTY IMPRO TACT

35, Plaintiff hereby incorporates all facts and allegations set forth in this Complaint by
reference as if fully set forth at length herein.

36, Plaintiff is a "Consumer" as defined by 15 U.S.C, §2301(3).

37, Defendant is a "supplier", “watrantor", and a "service contractor” as defined by 15 U.S.C,
§ 2301 (4),(5) and (8),

38. The subject vehicle is a "consumer product” as defined by 15 U.S.C. § 2301(1).

39, By the terms of its written watranties, affirmations, promises, or service contracts,
Defendant agreed to perform effective repairs at no charge for parts and/or labor.

40, The Magnuson-Moss Warranty Improvement Act requires Defendant to be bound by all
warranties implied by state law. Said warranties are imposed on all transactions in the state in
which the vehicle was delivered.

41. Defendant has made attempts to comply with the terms of its express warranties;
however, such repair attempts have been ineffective.

42, Defendant has filed to honor its obligations under its express wartanties by refusing to
attempt to finally repair Plaintiff's vehicle.

43, As a direct and proximate result of Defondant’s failure and refusal to honor its

obligations under its express warranties, said warranties have failed of thier essential purpose.

 

 

 

 
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44, The Magnuson-Moss Warranty Improvement Act, 15 U.S.C, §2310(d)(2) provides:

Ifa consumer finally prevails on an action brought under paragraph (1) of this subsection, he may be
allowed by the court to recover as part of the judgment a sum equal to the amount of aggregate amount of
costs and expenses (including attorney fees based upon actual time expended), determined by the court to
have been reasonably inourred by the Plaintiff for, or in connection with the commencement and
prosecution of such action, unless the court, in its discretion shall determine that such an award-of --
attorney's fees would bo inappropriate.

 

45, Plaintiff has afforded Defendant a reasonable number of opportunities to conform the
vehicle to the aforementioned express warranties, implied warranties and contracts,

46. As a direct and proximate result of Defendant's failure to comply with the express written
wartanties, the Defendant has breached said warranties, has violated the Magnuson-Moss
Warranty Improvement Act, the Plaintiff has suffered damages and, in accordance with 15
U.S.C. §2310(d)\(), the Plaintise is entitled to bring suit for such damages and other legal and
equitable relief.

47, At the time of obtaining possession of the vehicle and at all times subsequent thereto,
Plaintiff has justifiably relied upon Defendant’s express warranties and implied warranties of
fitness for a particular purpose and implied warranties of merchantability.

48, At the time of obtaining possession of the vehicle and at all times subsequent thereto,
Defendant was aware Plaintiff was relying upon Defendant’s express and implied warranties,
obligations, and representations with regard to the subject vehicle,

49, Plaintiff has incurred damages as a direct and proximate result of the breach and failure
of Defendant to honor its express and implied warranties.

50. Such damages include, but are not limited to, the sales price of the vehicle plus all
collateral charges, including attorney fees and costs, as well as other expenses, the full extent of

which ate not yet known,

 

 
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51. Plaintiff avers that upon successfully prevailing upon the Magnuson-Moss claim herein,
all attorney fees are recoverable and are demanded against Defendant.
WHEREFORE, Plaintiff respectfully demands judgment against Defendant in an amount

equal to the price of the subject vehicle, plus all collateral charges, incidental and consequential

 

damages, reasonable attorneys' fees, and all court costs.

COUNT III
PENNSYLVANIA UNFAIR TRADE PRACTICES AND

CONSUMER PROTECTION LAW

52, Plaintiff hereby incorporates all facts and allegations set forth in this Complaint by
reference as if fully set forth at length herein, | \

53. Plaintiff is a “Person” as defined by 73 P.S. §201-2(2).

54, Defendant is a “Person" as defined by 73 P.S. §201-2(2),

55, Section 201-9.2(a) of the Act authorizes a private cause of action for any person "who
purchases or leases goods or services primarily for personal, family or household. purposes."

56. Section 1961 of the Pennsylvania Automobile Lemon Law, provides that a violation of its
provisions shall automatically constitute a violation of the Pennsylvania Unfair Trade Practices
and Consumer Protection Act, 73 P.S. 201-1 et seq.

57. In addition, the Pennsylvania Unfair Trade Practices and Consumer Protection Act, 73
P.S. §201-2(4), defines “unfair or deceptive acts or practices" to include the following conduct:

(vil). Representing that goods or services are of a particular standard, quality or grade, or that goods
are of a particular style or model, if they are of another;

(xiv), Failing to comply with the terms of any written guarantee or wartanty given to the buyer at,
prior to, or after a contract for the purchase of goods or services is made;

(xv). Knowingly misrepresenting that services, replacements or repairs are needed if they ate not
needed:

 

 

 

 
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(xvi). Making repairs, improvements or replacements on tangible, real ot personal property of a
nature or quality inferior to or below the staridard of that agreed to in writing:

(xvil), Engaging in any other fraudulent or deceptive conduct which creates a likelihood of confusion
or of misunderstanding.

58. Plaintiff avers Defendant has violated these, as well as other provisions, of 73 P.S. §201-

2--et-seq:

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59, Section 201-3.1 of the Act provides that the Automotive Industry Trade Practice rules
and regulations adopted by the Attorney General for the enforcement of this Act shall constitute
additional violations of the Act.

60. Defendant's conduct surrounding the sale and servicing of the subject vehicle fails within
the aforementioned definitions of “unfair or deceptive acts or practices,"

61, The Act also authorizes the Court, in its discretion, to award up to three (3) times the
actual damages sustained for violations.

WHEREFORE, Plaintiff respectfully demands judgment against Defendant in an amount

greater than $199,116.00, together with all collateral charges, attorneys’ fees and court costs,

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KIMMEL & SILVERMAN, P.C.

By:
ROBERT M, SILVERMAN, ESQUIRE
Attorney for Plaintiff
30 East Butler Pike
Ambler, Pennsylvania 19002
(215) 540-8888

 

 
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VERIFICATION

Robert M. Silverman, states that he is the attorney for the Plaintiff herein; that he is

acquainted with the facts set forth in the foregoing Complaint; that same are true and correct to

 

the best of his knowledge, information and belief; and that this statement is made subject to the

Penalties of 18 Pa, C.S.A. §4904, relating to unsworn falsifications to authotities.

ROBERT M. SILVERMAN, ESQUIRE
. Attorney for Plaintiff

 

 

 
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A STATES
PRESSURES .

CAUSE: REMIOVE LARGE THREADED BOLT FROM TIRE AND PATCH STILL LEAKING
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DRIVER a a en BEBE ce e i |
SIDE OF DRIVERS « ee SRST ANDAON PL “SUE TA ER 0
DRIVER SIDH iS a ae ae WEE RDPB
PARKED NOS! poe i ea i dente
CAUSE: WATER LEAK a a ee ‘ pF
BY001 CUSTOMBE ‘ A Ha ga 70

  

VEHICLE, # ac ae eae o Seon digit
LOWER BSE EDE Barat Bee WSBT. ¢ pare Eeeee favored
FOUND ON SIDE OF DRIVERS HEADREST AND ON
FLOOR JUST IN PRONT OF 2ND ROW DRIVER SIDE
SEAT. VEHICLE WAS SITTING WHEN THIS HAPPENED
AND IS PARKED NOSE DOWN OM A VERY SLIGHT

 

INCLINE
72 INP (w/C)
PARTS : 0.00 LABOR: 0.00 OTHER: 0.00 TOTAL LINE B: 0.00

411 WATER LEAK HEAVY BEHIND DRIVERS SEAT FROM ROOF REMOVE NEEDED
TRIM AND WATER AND LEAK TEST VAN, WATER LEAKING FROM GLASS ROOF PANELS

 

 

 

NOT SEALED AT ROOF SENDING BACK TO BXPHORER P TO REPAIR
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Case 2:19-cv-02290-HB Document1 Filed 05/24/19 Page 20 of 28

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CUSTOMER #f: 190418 . 441025
UNIT 000858926

   

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EROME SANDERS Chevrolet of Doylestown

1439 BROOKSIDE AVE ; 845 N. Easton Road - Doylestown, PA 18902
LINWOOD, PA 19061-4135 PAGE 2 Phone: (216) 345-7100 « Fax: (245) 345-8444

HOME :610-485-6144 CONT:610-485-6144
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www, fredbaans.com

 
   
 

  
   
  

  

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DISCLAIMER OF WARRANTIES QESCRIPTION TOTALS
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# PLEASE PAY
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Case 2:19-cv-02290-HB Document1 Filed 05/24/19 Page 21 of 28

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Jan 1119 12:66p

THOMAS CHEVROLET. ING

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

  

 

  

 

 

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1263 W. BALTIMORE PK Pa
MEDIA, PA 10063 3
810-566-8600 oO
WWW.THOMASCHEVY.CoM 2
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[JEROME & ANA SANDERS “|. VEILED. _ MILES IN” [LES OU: ““OATEITIMEIN DATE OUT]. INVOIGE NG,
‘1439 BROOKSIDE AVE IGCWGBFG4H1 68340 1415 1418 [14/16/18 07:48114/26/16 84078
MARCUS HOOK, PA 19061 — VEHICLE DESCRIPTION TAG NOL] STATURE my
—ERSANDERS@AGL COM 2018 CHEVROLET EXPRESS Ge 00226 PARTIAL-COMPLETE-P
“7 GONTROL NG |) UOENsE PLATE NO, . | CYST, LABOR RATE | PAOD.DATE IN-SERY Date]: DELIV, oATE ‘EUV. MILES > TERMS "Sr
SAN248730 VARY O8H 1s Cash
| HOME PHONE wi) * |) WORKPHONE CBLL PHONE: ; ~ “ BTOOK NO, . . SERVADY, PT RO COMMENTS fr oo
(610) 485-6144 | (610) 629-7134 HEPSEY SHIPMAN (86)
Life’. .OpCode  ” FalfCode Tech. ‘Hours Type "Amount
A’ MULTI "ATE Customer $0.00
Concern 27-Point Mult! Polnt Inspection
Cause Tech completed a 27-Point Multl Point Inspeotion
ay
Cine Total... $0.00
Bet 9104102 A75 Warranty
Concern 18299: ZPSR - Product Safety Recall - Rear HVAC Controller Fire - (09/21/2018)
Correctlon 18299: ZPSR - Product Safety Recall - Rear HVAC Controller Fire - (09/21/2018)
ct “MB4 A75 Customer $88.00
Consem Customer states alt tras are toosing alr. Was told by another shop they are
leaking fran around the rime, .
Cause Tesh found shifted belt on passenger front tlre, Called Exptorer Conversion van.
Explorer sent 4 new tires to Install on vehicle for customer salisfaction
Sorrection Tech installed four new tires on Vehicle.
| Mise. Gode Deseription” | iii Gl.” Unit Price | EXxt.-Price ° _]
TTX tire tax 4 tres . 1.0 $4.00 $4.00
OSP 4 4 tire disposal fee 1.0 $2,00 $8.00
Mise Total... $12.00
. eer ey
Line Total... $100.00
Db? A76 Customer $0,606
oneern Customer states vehicle is pulling to the right
arrection Will reschedule customer to return for allanment
— er
Line Total... $0.00
roy AT5 Customer 80,00
cern = Tires covered by Explorer 800-028-7878. No charge to customer. PO 20645
. tty
Line Total... $0.00
PLAINTIFF'S
#18 11:25 INVOICE EXHIBIT DMER COPY Page 4 of 2

     

Cc

 

 

 

 

 
 

Case 2:19-cv-02290-HB Document1 Filed 05/24/19 Page 22 of 28

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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vecrwuiits & ANA SANDERS ‘* VEHICLEID « ¢*. T MiceG Ine MiLES OUT", .DATEAIMEIN: DATE OUT] | INVGIGEND, "=
1439 E BROOKSIDE AVE 7 GCWGBFG41 168340 1418 7 1415 HAs/18 07: 48 Leena 84078
MARCUS HOOK, PA 19061 "_VEHIGLR BeBoRIETION TAGND. TS Statue TF
JERSANDERS @AOL.COM 2018 CHEVROLET EXPRESS G2 00220 PARTIAL: *COMPLETE-P
fe GONTROL NO.) ; HOENSEELATENO, [ausr. LAgOR RATE T PROD, DATE |IN-GERV DATE] DELIV. DATE [/ DELIVMILES [> “TERMS.
SAN243730 VARY. 06/11/18 Cash
a HOME BHONE® >. "WORK PHONE —T » OBL FONE, fe STOCK, [oo SERV ADV. TT RO COMMENT. -
(610) 485.6144 ‘| (610) 529-7134 HEPSEY SHIPMAN (a8) "
Totals
Amount
Labor $68.00
Shop Charga $2.64
SalagTax $5.44.
Mise Tax," $4.00
Misc.Chg $8.00
Total Amount Qua $106.08
TOTAL CREDIT GARD $108.08

 

 

 

 

 

 

GB 11:25 INVOICE CUSTOMER COPY Page 2 of 2

 
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Jan 1119 12:57p ptt
THOMAS CHEVROLET, ING 2
1283 W. BALTIMORE PK =
MEDIA, PA 19063 a
610-566-8600 ©
WWW,THOMASGHEVY.COM £
pa
JEROME & ANA SANDERS VEHICLE ip MILES IN (MiLESQUT| DATEMIMEIN | DATE OUT | INVOIDENO.
1439 BROOKSIDE AVE TGCWGBFG4/1168340 1448 1448 1141/29/18 07:52 |11/e9/18 84486
MARCUS HOOK, PA 19054 VEHICLE DESCRIPTION TAG NO, STATUS
 JERSANDERS GAGL.COM 2018 CHEVROLET EXPRESS G2 00332 jPARTIAL-COMPLETE-P
CONTROLNO, . "] LGENSEPLATEND, | CUS, LABOARATE| PAOD. DATE |IN-SEAVOATE| DEUV, DATE | DELIV, MILES TERMS
SAN243790 VARY O6M1A8 No Charga
"HOME PHONE “WORK PHONE " GELL PHONE STOCK NO. SERV. ADV, AO COMMENT
(610) 486-6144 (610) 629-7184 HEPSEY SHIPMAN (a6)
/ Line Op-Code ~ Fail Code Tech Hours Type Amount —
A’ MUL Ads Customer $0.00
Concern = 27+Point Multi Point inspection
Cause Tach completed a 27-Polnt Mult! Paint Inspection
A ——
Line Total... $0.00
6° 0665308 A486 Warranty
Concer Perform 2 wheel allgnment
Correction Tech performed a front end alignment & set camber, caster & toe within factory
specifications ‘
Totals
Amount
Total Amount Due $0.00
TOTAL CUSTOMER Ne Charge
7 PLAINTIFF'S
11/20/18 12:38 INVOICE EXHIBIT Page 1 of 1

 

 

 
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Case 2:19-cv-02290-HB Document1 Filed 05/24/19 Page 24 of 28

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UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 

JEROME E. SANDERS, :
1439 Brookside Avenue : CIVIL ACTION NO.

Linwood, PA 19061 :
: NOTICE OF FILING OF NOTICE OF

Plaintifg, : REMOVAL
vs.

EXPLORER VANS,
2749 N. Fox Farm Road
Warsaw, IN 46580

Defendants,

To: Robert M. Silverman, Esq.
Kimmel & Silverman, P.C.
30 East Butler Pike
Ambler, PA 19002

 

 

 
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PLEASE TAKE NOTICE that Defendant Explorer Van Company, has, on this
23rd day of May, 2019 filed a Notice of Removal, a copy of which is attached hereto, by
Overnight Mail in the United States District Court for the Eastern District of
Pennsylvania. You are advised that, upon filing of said Notice of Removal, a copy of the
Notice has been filed with the Court of Common Pleas of the First Judicial District of the
Commonwealth of Pennsylvania (Philadelphia County),

Respectfully Submitted,

f
f

 

b

A LAURA D. RUCCOLO (70736)
a CAPEHART & SCATCHARD, PA
Attorneys for Defendant, Explorer Van
8000 Midlantic Dr., Suite 300 8
Mt. Laurel, New Jersey 08054
856-234-6800

 

 

 

 
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UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 

" JEROME E, SANDERS, ;
1439 Brookside Avenue : CIVIL ACTION NO.
Linwood, PA 19061 :
Plaintiff,
VS.
EXPLORER VANS,
2749 N. Fox Farm Road
Warsaw, IN 46580

Defendant.

CERTIFICATION OF SERVICE

 

I, Lauta D. Ruccolo, Esquire, hereby certify that on May 23, 2019, I caused to be served
a copy of the foregoing Notice of Removal via Overnight Mail to the following:

Attorney for Plaintiff
Robert M. Silverman, Esq.
Kimmel & Silverman, P.C,
30 East Butler Pike
Ambler, PA 19002

Office of the Prothonotary

Philadelphia Court of Common Pleas
First Filing, Room 280 a
City Hall -
Philadelphia, PA. 19107

  
  

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CERTIFICATION OF SERVICE
I, Laura D. Ruccolo, Esquire, hereby certify that on May 23, 2019, I caused to be
served a copy of the foregoing Notice of Filing of Notice of Removal via Overnight Mail

to the following:

Robert A. Rapkin, Esq.
Kimmel & Silverman, P.C.
30 East Butler Pike
Ambler, PA 19002

Office of the Prothonotary
Philadelphia Court of Common Pleas
First Filing, Room 280

City Hall

Philadelphia, PA. 19107

 

, Off
Pe D. Rutcolo, Esq.

 

 
